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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,      *
                                *
      v.                        *    UNDER SEAL
                                *
 KENNETH WENDELL RAVENELL,      *
 JOSHUA REINHARDT TREEM, and    *    CRIMINAL NO. LO-19-0449
 SEAN FRANCIS GORDON            *
                                *
      Defendants.               *
                             *******

                     UNITED STATES’ OPPOSITION TO
             DEFENDANTS’ MOTION FOR AN EVIDENTIARY HEARING

       The United States of America, by and through its undersigned attorneys, hereby submits

this opposition to the Defendants’ Motion for an Evidentiary Hearing. ECF No. 297. In their

motion, the Defendants ask for an evidentiary hearing to address “Brady issues raised by the

defendants” (1) “in their pretrial motion,” although the Defendants do not identify what motions

the Defendants are referring to, and (2) “in the July 1, 2021 letter (ECF No. 277, 278).” In their

Motion they also ask for an evidentiary hearing for a third reason, namely, to “address questions

raised by the Court at the July 7, 2021 hearing on the defendants’ pretrial motions,” although the

Defendants do not specify what “questions posed by the Court” they are referring to.

       Their motion ignores the obvious fact that if the Court had unanswered factual questions,

the Court is certainly capable of ordering an evidentiary hearing without the need for a motion by

the Defendants.

       In any event, the Defendants’ motion is meritless and should be denied.
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    A. None of the Outstanding Pretrial Motions Require an Evidentiary Hearing to Resolve
       Them.

        As to the first reason for an evidentiary hearing, to address the “Brady issues raised by the

defendants in their pretrial motion,” regardless of which motion they are referring to, an

evidentiary hearing is not necessary. The best evidence that it is not is the fact that a motions

hearing was held by the Court on July 7, 2021, and the Defendants did not call a single witness, or

attempt to call a single witness. 1

    B. The Defendant’s Unsolicited Letters to the Court Do Not Give Rise to the Need for an
       Evidentiary Hearing

        At the end of the motions hearing on July 7, 2021, the Court asked the Government a

question about previous filings in the case, at sidebar, which the Government was unable to answer

but promised to answer promptly. The Government did so the very next day in a letter to the Court

that was also filed on the docket. ECF 276. Then Defendant Ravenell filed two unsolicited letters

in response to the Government’s letter, ECF Nos. 278 and 279, in which he accused the

Government of violating Brady v. Maryland and made a series of ad hominem attacks on


        1
          Below is a procedural history of the Defendants’ pretrial motions in this case:
    •   On March 30, 2021, the Defendants filed ten (10) pretrial motions. ECF Nos. 173-185.
        One of those motions, the Defendants’ Motion to Submit Unredacted Filings & Exhibits
        Under Seal Pursuant to the Protective Order, ECF 177, was briefed by both sides on an
        expedited schedule and denied by the Court on April 20, 2021. See ECF 199 (under seal).
    •   On May 212, 2021, the Government filed an omnibus opposition to the remaining nine (9)
        motions. ECF 215.
    •   On June 9, 2021, the Defendants filed individual replies to the Government’s omnibus
        opposition to their nine (9) pretrial motions. ECF Nos. 222-233, 241-242.
    •   On June 16, 2021, despite the fact that the deadline for pretrial motions had passed, the
        Defendants filed a Motion to Exclude Privileged Evidence.            ECF No. 245. The
        Government opposed that motion on June 28, 2021, ECF No. 254, and the Defendants filed
        a reply on July 1, 2021, ECF 264.
    •   Thus, by July 7, 2021, all pretrial motions filed by the Defendants were fully briefed.
    •   On July 7, 2021, the Court held an approximately five (5) hour hearing on the Defendants
        pretrial motions. In the course of that hearing, the Defendants addressed each of their
        motions.
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Government counsel, including that they fabricated the answer they gave to the Court in the

Government’s letter of July 8, 2021. The Brady violation Defendant Ravenell accuses the

Government of committing is that when Ravenell was indicted in September 2019 that the

Government did not disclose that it had a recording of the interview of R.B. by Ravenell’s lawyer,

Treem, and the private investigator Treem retained, Gordon, which occurred on September 9-10,

2011 (hereafter the “Towers Jail visit”). Federal Rule of Criminal Procedure 16 requires the

disclosure of recorded statements by Defendants. See Fed. R. Crim. Proc. 16(a)(1)(B). Ravenell

was not recorded during the Towers Jail visit, because he was not present, and for that reason it

was not provided to Ravenell when he alone was indicted. Treem and Gordon were and, for that

reason, it was disclosed to them, and Ravenell, after all three were indicted and requested discovery

in February of this year.

       In the Government’s letter to the Court, the Government explained that it did not produce

the Towers Jail visit recording to Defendant Ravenell when he was charged in the original

indictment in this case because it was not Brady material. ECF 276 at 1. It was not Brady material

because it was information known to Defendant Ravenell, and the Fourth Circuit, and other courts,

have held without exception that Brady and its progeny do not require the Government to produce

information that the Defendant already has. Id. at 2-3. 2 And that was undoubtedly the case here



2
  Below is what the Government wrote in its letter dated July 8, 2021, ECF 276, explaining its
reasoning:

       The Government has reviewed the sealed pleadings it has filed in this case and did not
make an ex parte filing to the Court related to the video recording of Defendants Treem and
Gordon’s meeting with R.B. on September 9-10, 2017, when the original indictment in this case
was returned against Defendant Ravenell.

        The Government did not do so because the video recording did not constitute discovery
that the Government was obligated to provide to the Defendant pursuant to Brady v. Maryland,
373 U.S. 83 (1963) and its progeny. That is because, as the Fourth Circuit has held, “[I]nformation
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actually known by the defendant falls outside the ambit of the Brady rule.” United States v. Roane,
378 F.3d 382, 402 (4th Cir. 2004); Fullwood v. Lee, 290 F.3d 663, 686 (4th Cir. 2002) (“Certainly,
then, information that is not merely available to the defendant but is actually known by the
defendant would fall outside of the Brady rule.”). The logic of the Fourth Circuit’s conclusion is
grounded in the Brady decision itself. In Brady, the Supreme Court held that “suppression by the
prosecution of evidence favorable to an accused upon request violates due process where the
evidence is material either to guilt or to punishment, irrespective of the good faith or bad faith of
the prosecution.” 373 U.S. at 87 (emphasis added). As the Fourth Circuit and numerous other
courts have held, and as summarized in the Benchbook for U.S. District Court Judges,
“Information will not be considered ‘suppressed’ for Brady purposes if the defendant already knew
about it or could have obtained it with reasonable effort.” Benchbook for U.S. District Court
Judges, §5.06 (6th ed. 2013); see, e.g., United States v. Catone, 769 F.3d 866, 871–72 (4th Cir.
2014) (“[T]o establish a Brady violation, the exculpatory material must be known to the
government but not to the defendant.”); Barnes v. Thompson, 58 F.3d 971, 975–76 (4th Cir. 1995);
Stockton v. Murray, 41 F.3d 920, 927 (4th Cir. 1994)); Dudley v. City of Kinston, No. 4:18-CV-
00072-D, 2021 WL 1222798, at *6 (E.D.N.C. Mar. 31, 2021) (“Courts have noted that even when
an officer does not turn evidence over to the prosecutor ‘suppression does not occur when a
criminal defendant is already aware of the exculpatory information.”) (citing Burgess v. Baltimore
Police Dep't, 300 F. Supp. 3d 696, 704 (D. Md. 2018)); Parker v. Allen, 565 F.3d 1258, 1277 (11th
Cir. 2009) (“there is no suppression if the defendant knew of the information or had equal access
to obtaining it”); United States v. Quintanilla, 193 F.3d 1139, 1149 (10th Cir. 1999) (“a
defendant’s independent awareness of the exculpatory evidence is critical in determining whether
a Brady violation has occurred. If a defendant already has a particular piece of evidence, the
prosecution’s disclosure of that evidence is considered cumulative, rendering the suppressed
evidence immaterial.”); Coe v. Bell, 161 F.3d 320, 344 (6th Cir. 1998) (no Brady violation where
information is available to the defense “because in such cases there is really nothing for the
government to disclose.”).

        All three defendants unquestionably “already knew” that R.B. had made the statements that
they describe as Brady information when Treem and Gordon interviewed R.B. on September 9,
2017. They knew this because Treem and Gordon conducted the interview themselves and
reported its contents to Ravenell, whom they represented at that time. Ravenell’s knowledge of
R.B.’s statements is reflected in the letter that Treem sent a U.S. District Judge which described
the fact that R.B. had made, in Ravenell’s view, exculpatory statements (“However, Mr. Ravenell
believes that a record needs to be made of these events regardless of the consequences, should be
charged and should [R.B.] appear as a government witness.”) and in the affidavit that he and
Ravenell drafted for Sean Gordon describing the meeting with R.B. on September 9-10, 2021.
This was not the case where the Government conducted an interview and obtained information. It
was the Defendants’ own interview. Therefore, the Government was not obligated to disclose the
fact that R.B. had made these statements pursuant to Brady to Defendant Ravenell after the return
of the original indictment because he already knew that R.B. had made those statements.

       The Defendants did not know that their meeting with R.B., and therefore the information
R.B. provided to them, was also recorded, but that does not change the analysis. Brady speaks to
information, not the format in which it is captured. United States v. Higgs, 663 F.3d 726, 871 (4th
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because the recording was of an interview conducted by Defendant Ravenell’s own counsel at the

time. Id. at 2. Put another way, the Brady violation that Defendant Ravenell accuses the

Government of committing is not disclosing to him the contents of an interview his own lawyer

conducted. And Defendant Ravenell’s argument ignores the fact that in any event the recording

was disclosed to him in February of this year, nine months before trial.

       In his two letters to the Court, ECF 278 and 279, Defendant Ravenell rejected the clear

authority cited by the Government in its letter establishing that the Government has no obligation

to turn over information that is already in the possession of the defense. But those are arguments.

There is no need for an evidentiary hearing to determine whose view of the law is the correct one.

       In his second letter, ECF 279, Defendant Ravenell argues that because, in his view, the

Government committed a Brady violation, the Court should hold an evidentiary hearing, “with

testimony from all the individuals in law enforcement who were/are involved in R.B.’s



Cir. 2011) (No Brady violation exists when the evidence is “available to the defense from other
sources” or through a “diligent investigation by the defense.”); United States v. Zichittello, 208
F.3d 72, 103 (2d Cir. 2000) (“Even if evidence is material and exculpatory, it ‘is not “suppressed”’
by the government within the meaning of Brady ‘if the defendant either knew, or should have
known, of the essential facts permitting him to take advantage of any exculpatory evidence.’”)
(citations omitted) (emphasis added); Rector v. Johnson, 120 F.3d 551, 558–59 (5th Cir. 1997)
(same); United States v. Clark, 928 F.2d 733, 738 (6th Cir. 1991) (“No Brady violation exists
where a defendant ‘knew or should have known the essential facts permitting him to take
advantage of any exculpatory information,’ . . . or where the evidence is available to defendant
from another source.”) (citations omitted) (emphasis added).

         Following the return of the superseding indictment on December 17, 2021, Defendant
Ravenell made a discovery demand on January 28, 2021, and, in response, the Government
disclosed the recording of the meeting on September 9-10, 2017, to Ravenell under a cover letter
dated February 2, 2021. The Government disclosed the video to Treem and Gordon under cover
letters dated February 10, 2021. The Government notes that in both the Treem and Gordon cover
letters the video is identified under the heading, “Statements of Defendants (Rule 16(a)(1)(B));
Document and Objects (Rule 16(a)(1)(e)).” The video was disclosed pursuant to Rule 16 to all
Defendants and not pursuant to Brady consistent with the Government’s prior conclusion.



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cooperation, particularly the recorded jail meeting.” ECF 278 at 2. Defendant Ravenell never

explains, however, why an evidentiary hearing is necessary to address facts that occurred in August

and September 2017, when the Brady violation he alleges occurred was in 2019 and 2020. And

he cannot. There is no logic to holding an evidentiary hearing concerning the Towers Jail visit, an

event that occurred in 2017, to address Defendant Ravenell’s meritless accusation that the

Government committed a Brady violation in 2019 and 2020.

       Finally, the unsolicited letters Defendant Ravenell wrote make a series of baseless and

unprofessional accusations against undersigned counsel. But those do not merit an evidentiary

hearing.    For example, Defendant Ravenell claims, “The Government’s argument that this

powerful and clearly exculpatory evidence [referring to the recording of Ravenell’s own lawyer’s

interview of R.B.] is not Brady is a fabrication conceived last week in a desperate effort to appease

the Court’s concerns about their clear Brady violation.” ECF 278 at 2. Defendant Ravenell never

explains how he knows the Government’s letter of July 8, 2021, is a “fabrication,” and a “desperate

effort to appease the Court’s concerns.” And the reason he doesn’t is because he is the one who

is inventing things. And the Defendants should not be given an evidentiary hearing to explore

their own fabrications. Defendant Ravenell’s letter, like the Defendants’ pretrial motions are long

on outrage and short on facts and law.

        Similarly, Defendant Ravenell’s claim that “The truth is that the Government knew well

that Brady required them to turn over the recording to Mr. Ravenell, but they withheld it for over

a year for strategic advantage,” begs the question, how does Defendant Ravenell know what the

Government knew? Id. And, again, the short answer is that he doesn’t and the Defendants are not

entitled to an evidentiary hearing to explore what they don’t know.




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       The last, and perhaps most ridiculous claim Defendant Ravenell makes is that “The

Government knows, this Court knows, and everyone else involved in the criminal justice system

knows that this is not allowed.” Id. (emphasis added). How does Defendant Ravenell know what

“everyone else involved in the criminal justice system knows”? Again, the answer is that he

doesn’t. And an evidentiary hearing will not reveal what “everyone else involved in the criminal

justice system knows.”

       In sum, there are no facts in dispute as to whether or not the Government made an ex parte

filing to the Court concerning the Towers Jail visit when Ravenell was indicted in 2019. Therefore

an evidentiary hearing is not warranted. And the Government didn’t because the law is clear that

a recording of an interview made by the Defendant’s own lawyer was not covered by Brady.

United States v. Roane, 378 F.3d 382, 402 (4th Cir. 2004); Fullwood v. Lee, 290 F.3d 663, 686

(4th Cir. 2002) (“Certainly, then, information that is not merely available to the defendant but is

actually known by the defendant would fall outside of the Brady rule.”).

   C. There are No Unresolved Factual Questions About Whether R.B. Consented to
      Record Treem and Gordon, Because He Unequivocally Did, and No Unresolved
      Factual Questions about R.B.’s Cooperation Agreement, Because He Didn’t Have
      One.

       In their Motion for An Evidentiary Hearing, the Defendants offer a third argument for why

they believe one is needed. Like their other two, it is unpersuasive. Specifically, the Defendants

write in their motion,

       … if there is an unresolved factual question relating to R.B.’s ‘consent’ for the
       videotape, or whether it was the government or R.B. who was making
       determinations about the parameters for the videotape, those questions can only be
       answered by a full evidentiary hearing, including the testimony of R.B., his
       attorney, and all the government prosecutors or agents who were involved in the
       decision to videotape, as well as its execution.

Mot. at 5 (emphasis added).



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       There is no unresolved factual question relating to R.B.’s “consent” for making the

videotape. As the recording itself makes clear, and as reflected in the transcript, both of which all

the defendants have, R.B. consented to making the recording. Below is the relevant section of the

transcript from September 9, 2021:




Transcript of September 9, 2017, Recording at 2:1-9 (Exhibit 1).

       And R.B. consented to the second day of recording, September 10, 2017, as well, as

reflected in the recording and transcript, both of which the Defendants possess:



                                [this space intentionally left blank]




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Transcript of September 10, 2017, Recording at 2:1-10 (Exhibit 2).

        The Defendants assert that, “it is undisputed that it was the government, not R.B., that

made the decision to video tape the interview.” Mot. at 2. That is not true, as the above quoted

section of the transcript makes clear. If R.B. had said no, there would have been no recording of

the interview, as the Government would have had no legal authority to record the interview. It

was R.B.’s decision to do so, not the Government’s. And, as a practical matter, the recording was

made by the Defendant himself. The recording device used was a pair of eyeglasses that R.B.

wore. When the interview first began on September 9, 2017, they were in his pocket. He put them

on at approximately the eleventh minute of the interview, at which point what R.B. was seeing

became visible. Below is an image from approximately the time R.B. put on the eyeglasses that

recorded the interview. KWR’s Combined Notes are on the right and Treem’s notepad is on the

left.

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In sum, the Government asked R.B. to record the interview. R.B. agreed to do so. Those are the

facts that are not in dispute. There is no need to hold an evidentiary hearing to determine whether

he consented. The video recording of the interview itself shows that he did.

       Defendants next argue for an evidentiary hearing in order to address what R.B.’s

cooperation agreement contained. The Defendants incorrectly assert, “But as of mid-August 2017,

R.B. had reached an agreement with the government to cooperate to help it with its investigation.”

Mot. at 3. They are incorrect. In a footnote, the Defendants double-down on their inaccurate

assertion:

       In keeping with the government’s parsimonious view of its Brady obligations, it
       has not provided the defendants with a copy of R.B.’s cooperation agreement. If
       that cooperation agreement contains the sort of standard language employed by the
       U.S. Attorney’s office in other cases, it requires R.B. to comply with any and all
       reasonable instructions from the government, including acting in an undercover
       capacity and allowing authorities to monitor and record conversations with persons
       who are believed to be engaged in criminal conduct. If R.B. wanted the benefits of
       his cooperation agreement, he had no choice but to agree to the government’s
       decision to record the interview.

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Mot. at 3, FN 2. First, the Government does not take a parsimonious view of its Brady obligations

and never has. Second, in the District of Maryland, cooperation agreements are contained in sealed

supplement to plea agreement. R.B. signed a plea agreement and pled guilty on November 2,

2016, without agreeing to cooperate. The plea agreement was pursuant to Federal Rules of

Criminal Procedure 11(c)(1)(C) and included an agreed upon sentence of 26 years. On February

9, 2017, Judge Bennett sentenced R.B. to 26 years in prison. The Towers Jail visit obviously took

place more than seven months later. And these facts are all known to the Defendants because it

was addressed at the motions hearing on July 7, 2021:




                               [this space intentionally left blank]




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Transcript of Motions Hearing, July 7, 2021, at 19:3-16.

        In sum, an evidentiary hearing is not necessary to explore a cooperation agreement that

doesn’t exist.

        The Defendants clearly want an opportunity to question, essentially depose, R.B. and the

law enforcement agents and prosecutors who were formerly involved in this case. That much is

clear from their motion. The problem is that there is no legal basis for such an exercise. The

Defendants have tried to shoe-horn their demands into the Brady rule, but it’s a round peg in a

square hole. The Defendants are charged with lying to a federal judge, preparing and executing a

phony affidavit and tricking R.B. into signing a “witness statement” that he clearly said was all

lies.


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       Whatever law enforcement agents or prosecutors formerly assigned to his case said to R.B.

is irrelevant to the question of whether Treem and Ravenell’s letter to a U.S. District Court Judge

misrepresented what happened on September 9-10, 2017, whether the affidavit that Ravenell and

Treem drafted for Gordon, and Gordon signed, misrepresented what happened on September 9-

10, 2017, and whether Treem and Gordon tricked R.B. into signing KWR’s Combined Notes after

R.B. told them the statements in KWR’s Combined Notes weren’t true.



                                             Respectfully submitted,

                                               Jonathan F. Lenzner
                                               Acting United States Attorney

                                             By: ____________/s/____________
                                                Leo J. Wise
                                                Matthew J. Maddox
                                                Assistant United States Attorneys

                                                 Derek E. Hines
                                                 Special Assistant United States Attorney



                                CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing was served on counsel of record via CM/ECF.


                                                     ____________/s/____________
                                                     Leo J. Wise
                                                     Assistant United States Attorney




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